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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

EDWARD BUCK, Case No. 2:20-cv-7475-JGB (MAR)
Plaintiff,

v. JUDGMENT

MICHAEL CARVAJAL, ET AL.,

Defendant(s).

 

 

Pursuant to the Order Accepting Findings and Recommendation of United
States Magistrate Judge,
IT IS HEREBY ADJUDGED that this action is dismissed without prejudice.

Dated: September 23, 2021 7 % /

HON®@HABLE JESUS G. BERNAL
United States District Judge

 

 
